               Case: 5:07-cr-00061-KKC Doc #: 84 Filed: 11/02/07 Page: 1 of 6 - Page ID#: 171
% A 0 245B    (Rev. 06105) Judgment in a Criminal Case
              <hept   I




                                         UNITEDSTATESDISTRICTCOURT
                          EASTERN                                 District of                              KENTUCKY
          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                             V.
                JOHN WLLIAM ROSE
                                                                         Case Number:                     LEXINGTON 5:07-cr-61-S-l-KSF
                                                                         USM Number:                      49 145-080
                                                                         James Lowry, IV
                                                                         Defendant’s Attorney
THE DEFENDANT:                                                                                             h s t e r n Djstrlct of Kentu$v
X pleaded guilty to count(s)        Is & 2s                                                                         FlLEQ
0pleaded nolo contendere to count(s)                                                                              arfJq -    CI   2887
   which was accepted by the court.
0was found guilty on count(s)                                                                                       fir   LEXINGTON
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                       Offense Ended                  Count
21 U.S.C. 846                     Conspiracy to possess with intent to distribute marijuana               3/21/07                 IS
                                   & to distribute marijuana
18 U.S.C. 1956(h)                 Conspiracy to conduct money laundering transactions                     3121lOl                 2s



       The defendant is sentenced as provided in pages 2 through       6      of this judgment. The sentence is imposed pursuant to
18 U.S.C. 53553(a) and the Sentencing Reform Act of 1984, as amended or modified by the Supreme Court’s January 12,2005, decision in
United States v Booker and United States v Fanfan.

0The defendant has been found not guilty on count(s)
X Count(s) 3s, 4s, 6s, & original indictment      0 is            X are dismissed on the motion of the United States.
         It is ordered *at the defendantmust notify the United States attomey for this disbjct within 30 da s of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by thisjudgment are f d y paid. Ifordered to pay restitution,
the defendant must notify the court and United States attomey of material changes in economic circumstances.

                                                                         November 2,2007



                                                                         Signature of Judge




                                                                         KARL S. FORESTER. SENIOR U. S. DISTRICT JUDGE
                                                                         Name and Title of Judge


                                                                         November 2.2007
                                                                         Date
                   Case: 5:07-cr-00061-KKC Doc #: 84 Filed: 11/02/07 Page: 2 of 6 - Page ID#: 172
A 0 245B       (Rev. 06/05) Judgment in Cnminal Case
               Sheet 2 - hpnsonment
                                                                                                        Judgment-Page      2   of   6
    DEFENDANT:                   ROSE, John William
    CASE NUMBER:                 LEXINGTON 5:07-cr-61 -S-I-KSF


                                                                  IMPRISONMENT

            The defendant is hereby committed to the custody of the United States Bureau f Pris ns to be imprisoned for a
    total term of:

    120 MONTHS ON COUNT 1s AND 120 MONTHS ON COUNT 2 ~TO
                                                      , RUN CONCURRENT WITH EACH OTHER.
    FOR A TOTAL TERM OF 120 MONTHS.


     X     The court makes the following recommendations to the Bureau of Prisons:
           It is recommended to the Bureau of Prisons that the defendant participate in the intensive drug education and treatment
             rogram.
           $he Court recommends that the defendant participate in any available vocational training programs for which he may be
           eligible.

     0     The defendant is remanded to the custody of the United States Marshal.

     0     The defendant shall surrender to the United States Marshal for this district:

           0     at                                    0   a.m.    0   p.m.    on

           0 as notified by the United States Marshal.

     X     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           X     before 2 p.m. on         2/25/08
           0     as notified by the United States Marshal.

           0     as notified by the Probation or Pretrial Services Office.


                                                                       RETURN
    I have executed this judgment as follows:




           Defendant delivered on                                                           to

a                                                      , with a certified copy of this judgment.


                                                                                                      UNITED STATES MARSHAL


                                                                              BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
                  Case: 5:07-cr-00061-KKC Doc #: 84 Filed: 11/02/07 Page: 3 of 6 - Page ID#: 173
A 0 245B      (Rev. 06/05) Judgment in a Criminal Case
              Sheet 3~   Sunervired Release
                                                                                                           Judgment-Page      3      of         6
DEFENDANT:                     ROSE, John William
CASE NUMBER:                   LEXINGTON ~ 0 7 - c r - 6 1-S-1 -KSF
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

TEN (10) YEARS. This term consists of terms of ten (10) years on Count Is and three (3) years on Count 2s, such terms to run
concurrently.


      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall reflain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release flom imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
 0    The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
 X    The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 0    The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 0    The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
      student, as directed by the probation officer. (Check, if applicable.)
 0    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this ‘udgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule odPayments sheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;
           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
           the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the pro%ation officer;
           the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
           as directed by the robation officer, the defendant shall notifythird parties of risks that may be occasioned by the defendant’s criminal
           record or persona? history or charactenstlcs and shall permit the probatlon officer to make such notlficatlons and to confirm the
           defendant s compliance with such notification requirement.
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A 0 2458     (Rev. 06/05) Judgment in a Criminal Case
             Sheet 3C - Supervised Release
                                                                                         Judgment-Page   4     of      6
DEFENDANT:                  ROSE, John William
CASE NUMBER:                LEXINGTON 5:07-cr-61-S-l-KSF

                                           SPECIAL CONDITIONS OF SUPERVISION

The defendant shall not possess a firearm, destructive device, or dangerous weapon.
The defendant shall articipate in a substance abuse treatment program and shall submit to periodic drug and alcohol testing
at the direction and $kcretion of the probation officer during the term of supervision.
The defendant shall abstain from the use of alcohol.




Pursuant to Public Law 108-405, Revised DNA Collection Requirements Under the Justice for All Act of 2004, the
defendant shall submit to DNA collection if the offense of conviction is a felony.



                                                        ACKNOWLEDGMENT

Upon ajinding of a violation ofprobation or su ervised release, I understand that the Court may (1) revoke supervision, (2)
extend the term of supervision, and/or (3) mod& the conditions of supervision.
These conditions have been read to me. I fully understand the conditions and have been provided a copy of them



(Signed)
           (Defendant)                                                     Date




           U. S. Probation OfficeriDesignated Witness                      Date
A 0 2458   (RevCase:     5:07-cr-00061-KKC
                 06/05) Judgment in a Criminal Case   Doc #: 84 Filed: 11/02/07 Page: 5 of 6 - Page ID#: 175
           Sheet 5 -Criminal Monetary Penalties
                                                                                                          Judgment - Page       5    of       6
DEFENDANT:                       ROSE, John William
CASE NUMBER:                     LEXINGTON 5:07-cr-61-S-l -KSF
                                            CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6 .

                      Assessment                                          -
                                                                          Fine                                    Restitution
TOTALS            $ 200.00                                              $ -0-                                   $ -0-



 0   The determination of restitution is deferred until              . An Amended Judgment in a Criminal Case ( A 0 245C) will be entered
     after such determination.

 0 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximate1 ro ortioned ayment, unless specified otherwise in
     the priority order or percentage payment column gelow. However, pursuant to 18 'ipS.8. $ 3664&, all nonfederal victims must be paid
     before the United States is paid.

Name of Pavee                              Total Loss"                              Restitution Ordered                     Priority or Percentage




TOTALS                             $                             0              $                           0


0     Restibtion amount ordered pursuant to plea agreement $

0     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. $ 3612(g).

0     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      0    the interest requirement is waived for the        0   fine     0     restitution.
      0 the interest requirement for the       0      fine   0 restitution is modified as follows:


* Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A ofTitle 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
A 0 2458       Case: 5:07-cr-00061-KKC Doc #: 84 Filed: 11/02/07 Page: 6 of 6 - Page ID#: 176
           (Rev. 06/05) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                        Judgment-Page        6     of        6
DEFENDANT:                  ROSE, John William
CASE NUMBER:                LEXINGTON 5:07-cr-61-S-l-KSF

                                                      SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

      x    Lump sum payment of $          200.00               due immediately, balance due

           0     not later than                                   , or
           0     inaccordance            0    C,      0   D,   0 E,or       0 Fbelow; or
      0    Payment to begin immediately (may be combined with            0C,        0D, or       0F below); or
           Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

      0    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

      0    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

      X Special instructions regarding the payment of criminal monetary penalties:
           Criminal monetary penalties are payable to:
           Clerk. U. S. District Court
           Eastem District of Kentucky
           Post Office Box 3074
           Lexington, KY 40588-3074


Unless the court has express1 ordered otherwise, if this judgment imposes imprisonment, ayment ofcriminal monetary penalties is due durin
imprisonment. All criminarmoneta penalties, except those payments made througl the Federal Bureau of Prisons’ Inmate Financia?
Responsibility Program, are made to z e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



0     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




0     The defendant shall pay the cost of prosecution.

0 The defendant shall pay the following court cost(s):
0     The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
( 5 ) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
